Case 2:05-cr-20010-.]DB Documeht 40 Filed 06/02/05 Page 1 of 2 PagelD 32

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uNiTED sTATEs oF AMERicA, J T ii ii?Ei»rs»ns
Piaimiff,

vs.

CR. NO. 05-20010-B
ALBEFtT K|N LEE,

Defendant.

 

ORDEF{ ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on fora report date on lViay 31 , 2005. At that timel counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
disposition of pending motions

The Court granted the request and reset the trial date to July 5, 2005 with a §§po_rt
date of Thursdav,_.lune 23, 2005. at 2:00 D.m., in Courtroom 1. 11th Floor of the
Federal Building, l\/|ernphisl TN.

The period from June 17, 2005 through July 15, 2005 is excludable under 18

U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a eedy tria|.
|T |S SO OFiDEFtED this § clay otJu ,2005.

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J.UEL BREEN \
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Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
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Honorable J. Breen
US DISTRICT COURT

